                                   Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 1 of 26
JS44 (Rev lO2O)                                                                                 CIVIL         COVER                   SHEET


The JS         cover sheet and the inlbrniation conlained herein neither replace nor supplenient the fUing and service of pleadings or other papers as required by law,
             44 civil                                                                                                                                                                                                                  except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court                                                                 for the
pnrpose ofi nnating thi. mI docket slic t     (11 R1A( ( IIVS(J L \PI( I 0! fillS [OR f
.1. (a) PLAINTTFF8                                                                                                                    DEFENDA’TS
              Lokman Moharned                                                                                                         Essam E. Babkkir and Edirgawi Transport, Inc.
     (I))     County    ofResidence ofFrst         Listed Plaintiff                 Hanford, CT                                       County of Residence ofFirsi l.ised l)efendnnt Wayne.                              MI
                                       (LX(ErffW U.S          I’LAINIiF!’ C.4SFJS)                                                                          (IN US. PL4I’iTIFF CSES OVL
                                                                                                                                      NOm         ir L,ND CONDEMNATION CASES. LSF. TIlE LOCATION OF
                                                                                                                                                  TIlE TRACT OF LANI) INVOLVED.

     ( C)
              Attorneys   (Fins Nariw. 4ddrers. and iIepiouie Nu,ithca-)                                                               Attorneys      (1/Knowni

              Feeda R. Musitief, The Musitief Firm, LLC, 1333 Race                                                                    Joseph F. Butcher, Zimrner Kunz, PLLC, 310 Grant Street,
              Street, Philadelphia, PA 19107 (215) 703-5400                                                                           Suite 3000, Pittsburgh, PA 15219 (412) 434 5449                                  -




ii. BASIS OF JURISDICTION (Place an                                         ‘V’ in One Box Only)                    IlL CITIZENSHIP OF PR.INCIPA.L PiRT1ES (i’Iace au                                                  .5!”   in One   Roxfor   Plaintiff
                                                                                                                                (For [Jli’rrxij Cacr,v Os!                                             and One 13ox Jhr Def’endanti
     I   US. Government                   Q3            Federal Question                                                                                       PTIt         DEF                                            PIE                   l)EF
           Plaintiff                                      (ILS’. (4nernnwijt Fat a Prt.t                                  Citizen of This State               []
                                                                                                                                                                  I        []
                                                                                                                                                                               I     Incorporated or Principal Place            4                    4
                                                                                                                                                                                                                           [J                   [J
                                                                                                                                                                                       ol’ Business hi ‘lius State

     2      U.S. Government                    4        t)iversity                                                        L’itizni of Another State                  2               tucorporated and Principal Place
Q                                                                                                                                                                           J 2                                                   Q
                                                                                                                                                                                                                                         5
               I.)efrdsnt                                 (Intiirua’ Citi;ensliip o(i’arries in Juan Ill)                                                                              of Business in Another Suite

                                                                                                                          (..‘itizeri or Subwrt ofa               :3       fl
                                                                                                                                                                                3    Foreign Nation                                      6           6
                                                                                                                              Foreign Country
1V. NATURE OF SUIT fP!ai’ an                              ‘“   j,    ();w   8                                                                                     Click here for: Nature of Suit Code Descriptions.
             COTR4CT                                                                TORTS                                   roRFEIruRcfpENALr                                 DKRUPTCY                              OTHER STTUTFS
 ] 1 10 Insurance                           I’ERSONAL INJIJRV                                PERSONAL I15.JURY               625 Dnag Related Seizure                      .122 Appeal 28 USC 158            1 375 False Cisims Act
D 120 Marine                              ] 3113 Airplane                                   :365 Personal 0ajuiy               of Property 21 USC 88 I                     42:; Withdrawal                   1 376 Qui lain (31 USC
   130 Miller Act                         J 315 Airplane Product                                  Product Liability       1600 Other                                            28 USC 157                             3720(a)t
   140 Negotiable Instrument                     Liability                               fl 367 Health Care:                                                                                                      400 State Reapportionment
   150 Recoveiy of Overpayment            ] 320 Assatalt. Libel &                                Phaiinaceutical                                                          PROPERTY RIGHTS                         410 Antitrust
         F Enfrirceinent of Judgment             Slander                                         Personal Injury                                                           $20 Copyrights                         430 Banks and Banking

R  151 Medicare Act
   152 Itecovety of Defaulted
          Student Loans
                                          J 330 Federal Employers’
                                                    Liability

                                          ] 340 Marine
                                                                                                 Product Liability
                                                                                            368 Aslsestos Personal
                                                                                                  Injury Product
                                                                                                                                                                           $30 Patent
                                                                                                                                                                           835 Patent Abbreviated
                                                                                                                                                                               New Drug Application
                                                                                                                                                                                                                  4S0 Conmierce
                                                                                                                                                                                                                  460 Deportation
                                                                                                                                                                                                                  470 Racketeer Influenced arid
         (Excludes Veterans)              J 345 Marine Product                                    Liability                                                                840 Trademark                               Corrupt Organizations
Li 153 Recovery of Overpayment                      Liability                             PERSONAL PROPERTY                     ,.LAIIOR                                 ] 880 Defend ftade Secrets          :
                                                                                                                                                                                                                  480 Consumer Credit
         of Veteran’s Hefjts                  350 Motor Vehicle                             370 Other fraud                 710 Fair Labor Standards                           Act of 2016                             (15 USC 1681 or 16021
   1 65) Stockholders’ Suits              J   3.55 Motor Vehicle                            371 Truth in i.ending               Act                                                                           ]   48.5 Telephone Consumer
   I 9(10th r C mar irt                            1 ro It. t L i ifs lily                  31(00th r I ni in it          :
                                                                                                                                I abor ‘vLiim n, nient                      SOCIAL SIURITY                             Pm tertion \ct
   195 Contract Product Liability         ]   360 Other Personal                                 Property Damage                     Relations                             861 fliA (I 395ff)                1    490 Cahle!Sat TV
   196 Franchise                                   Injury
                                              362 Personal Injury
                                                                                         Li 385 Property t)amage
                                                                                                 Product I.iahility
                                                                                                                          :i 740 Railway Labor Act
                                                                                                                          J751 Family raid Medical
                                                                                                                                                                           862 Black Lung (923)              ]    850 SectiritiesiComniodities’
                                          ]                                 -                                                                                              863 D1WLDIWW (4t)5(gD                        Exchange
                                                   Medical Malpractice                                                          Leave Act                                  1(64 SSID ‘title XVI                   1190 Other Statutory Actions
          REAL PROPERTY                          CIVIL RIGHTS                             PRISO ER PETH’iONS              1 790 Other Labor Litigation                     $65 RSI (405(g))                  1    891 Agricultural Acts
     210 land (‘otidenmnaiicin
     22(3 F’ureclosuic
                                          J   440 Other Civil Rights                        Ih,Isea Corpus:               =1791 Employee Retirement                                                          1    1(03 Emiviromianental Matters
                                              ‘441 Voting                                 1 463 Alimi l)etaiimee                Income Security Act                       FEDERAL TAX SUITS                  J    895 .Ficedotri of Lmmformatiomi
     230 Rent I.ease & Eiectmniimit       J   442 Eniploynment                            J 51(1 .Motions to Vacate                                                        870 Taxes (U.S. Plaintiff                   Act
     240 Torts to Laud
     245 Tort Product Liability
                                          J   443 Housing
                                                   Accomniaiodations
                                                                                                 Sentetice
                                                                                            530 General
                                                                                                                                                                               or Defendrititl                    $96 Arbitration
                                                                                                                                                                     :
                                                                                                                                                                           871 IRS—Third Party                    899 Administrative Procedure
     200 All 0th a 11. ml I i ip ity      ]   445      icr ss Disab lita s                  535 12 aLIt I c tally                IMMIGRATION                                    6 USC 760)                                t Rcs cW r Appe ml at
                                                   Employment                               Other:                           462 Naturalization Aisplicatiori                                                          Agency Decision
                                          ]   446 Airier. svDisabilities                    540 .Mandamus & Oilier           465 Other Immigration                                                                950 (Mnsti.tsationality of
                                                                                     -

                                                                                                                                                                                                             1
                                                   Oilier                                   550 Civil Rights                     Actions                                                                               State Statutes
                                          ]   448 [(duration                                555 Prison Condition
                                                                                            560 Civil Detainee -


                                                                                                 Conditions of
                                                                                                 Confinement
V. ORIGiN          (Place an “X” in One 8ox (3iily,i

Li       Original       []2 Removed from
                                                                       Li
                                                                                3        Remanded from
                                                                                                                   Li 4   Reinstated      or     Li   5 Transferred from
                                                                                                                                                                                     Li   6 Multidislrict
                                                                                                                                                                                                                       Li 8 Multidistrict
         Proceeding           State Court                                                Appellate Court                  Reopened                      Another District                    Litigation   -                       Litigation      —




                                                                                                                                                        (.spccfj’)                          Transfer                             Direct File
                                               Cite the U.S. Civil Statute under which you are filing (Do not cite jurLsdis’rk.ned .statuKrw unless dircrsi(r):
                                               28 USC Section 1332- Diversity Jurisdiction
VI. CAUSE OF ACTION                            Brief description of cause:
                                               Motor Vehicle Accident
Vii. REQUESTED IN                              El        CHECK IF THIS is A CLASS ACTK)N                                     DEMAND S                                               CHECK YES     only   if demanded. in complaint:
     COi’IPLAiNT:                                        UNDER RULE 23. F.R.CV.P.                                            75,000     +                                           JURY DEMAND:                   Dyes            [INo
VIII. RELATED CASE(S)
                                                    (See instrzicgionsi:
      IF I.
         ‘,Y   4   .                                .




                                                                                          JUD(3E
DATE                                                                                          SIGNATURE OF ATT0RtJEY 0 RECO [3
2/8/2022                                                                                      /s? Joseph F. Buicher
FOR OFFICE USE ONLY                                                                                                           \,_/    f
     RbCEIPT 4                         AMOUNr                                                    APPLYING IFP                                         JUDGE                                  MAO. JUDGE
             Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 2 of 26




                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LOKMAN MOHAMED,                                             No.: 2:22-cv-00516

                     Plaintiff,                              Electronically Filed
               vs.

 ESSAM E. BABKKIR AND EDIRGAWI
 TRANSPORT, INC.

                          Defendants.


                                            NOTICE OF REMOVAL

                     AND NOW, come Defendants, Essam E. Babkkir and Edirgawi Transport, Inc., by

and through their counsel, Zimmer Kunz PLLC and Joseph F. Butcher, and file the following

Notice of Removal of the above-captioned action to the United States District Court for the Eastern

District of Pennsylvania from the Court of Common Pleas of Philadelphia County, pursuant to 28

U.S.C. § 1441 et seq. and, in support thereof, aver as follows:

                     1.        This Civil Action arises out of an accident on February 12, 2020 on

Interstate 80 in Jefferson County, Washington Township, Pennsylvania. See Complaint attached

hereto as Exhibit “A”.

                     2.        Plaintiff Lokman Mohamed commenced this Civil Action through a

Complaint filed on or about January 21, 2022 in the Court or Common Pleas of Philadelphia

County, Pennsylvania and it has a docket number of 220101797.

                     3.        Plaintiff alleges that he resides in the State of Connecticut.

                     4.        Defendant Essam Babkkir is a citizen and resident of the State of Michigan.

                     5.        Defendant Edirgawi Transport, Inc. is incorporated under the laws of the

State of Michigan and has its principal place of business in the State of Michigan.


02248564.DOCX 5915-0006
             Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 3 of 26




                    6.    Defendants were served with the Plaintiff’s Complaint on or about January

31, 2022.

                    7.    Plaintiff is alleged to be a citizen of Connecticut and Defendants are citizens

of Michigan and, as such, diversity of citizenship existed at the time this civil action was filed and

at the time of the filing of this Notice of Removal.

                    8.    Plaintiff’s Complaint asserts claims against the defendants where Plaintiff

seeks to recover damages that exceed the jurisdictional limits of compulsory arbitration of $50,000

in Philadelphia County for injuries to Plaintiff as well as property damages. Plaintiff further

alleges that he is entitled to recovery of punitive damages.

                    9.    A fair reading of the Plaintiff’s Complaint, with his claims for damages

(both alleged compensatory and punitive damages) reveals an amount in controversy exceeding the

sum of $75,000, exclusive of interest and costs. See generally Plaintiff’s Complaint.

                    10.   Accordingly, this action is one in which the District Courts of the United

States possess original jurisdiction under 28 U.S.C. § 1332.

                    11.   Venue is proper in this Court because it is the district court for the district in

which Plaintiff’s cause of action was originally filed.

                    12.   This Notice of Removal is filed within thirty (30) days after the Defendants’

receipt of service of Plaintiff’s Complaint at which time it was first ascertained that Plaintiff’s

Complaint and claims are ones which are removable.

                    13.   The Plaintiff’s Complaint is the only filing received by Defendants as filed

in the Court of Common Pleas of Philadelphia County, Pennsylvania.

                    14.   With filing of this Notice of Removal, Defendants are filing a Notice of

Filing of Notice of Removal with the Prothonotary of the Court of Common Pleas of Philadelphia




02248564.DOCX 5915-0006
             Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 4 of 26




County, Pennsylvania advising that the Defendants have removed this action to the United States

District Court for the Eastern District of Pennsylvania, together with service to all parties. A copy

of this filing is attached hereto as Exhibit “B”.

                    15.    By filing this Notice of Removal, Defendants do not waive any defenses

which may be available to them.

                    WHEREFORE, this civil action filed in the Court of Common Pleas of Philadelphia

County, Pennsylvania at Civil Docket 220101797 is hereby removed to the United States District

Court for the Eastern District of Pennsylvania.

A JURY TRIAL IS DEMANDED, INCLUDING A REQUEST FOR A 12 MEMBER JURY

                                         Respectfully submitted:

                                         /s/ Joseph F. Butcher
                                         Joseph F. Butcher (PA #86464)
                                         E-Mail: butcher@zklaw.com
                                         Zimmer Kunz PLLC
                                         310 Grant Street, Suite 3000
                                         The Grant Building
                                         Pittsburgh PA, 15219
                                         Tel: (412) 434 - 5449
                                         Fax: (412) 281-1765
                                         Attorney for Defendants Essam E. Babkkir and Edirgawi
                                         Transport, Inc.




02248564.DOCX 5915-0006
             Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 5 of 26




                                       CERTIFICATE OF SERVICE


                    This is to certify that a true and correct copy of the Notice of Removal was

forwarded to Plaintiff’s counsel electronically through email and through U.S. Mail, first class,

postage prepaid on the 9th day of February, 2022 as follows:

                                         Feeda R. Musitief, Esquire
                                          The Musitief Firm, LLC
                                               1333 Race St.
                                          Philadelphia, PA 19107
                                             fm@musitief.com


                                           Respectfully submitted,

                                           /s/ Joseph F. Butcher
                                           Joseph F. Butcher (PA #86464)
                                           E-Mail: butcher@zklaw.com
                                           Zimmer Kunz PLLC
                                           310 Grant Street, Suite 3000
                                           The Grant Building
                                           Pittsburgh PA, 15219
                                           Tel: (412) 434 - 5449
                                           Fax: (412) 281-1765
                                           Attorney for Defendants Essam E. Babkkir and Edirgawi
                                           Transport, Inc.




02248564.DOCX 5915-0006
          Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 6 of 26




                                                                             Filed
                                                                             Filed and
                                                                                                   x\
                                                                                       and' Attested
                                                                                              Attestted by
                                                                                                         by the
THE MUSITIEF FIRM, LLC                                                                                      the

By: Feeda R. Musitief, Esquire                                             Office of
                                                             Attorney for Plohflili’e      Judicial
                                                                                       of. J        al Records
                                                                                                        Records
                                                                    "            21 JAN
                                                                                      JAN 2022
                                                                                            .      05:19  pm
                                                                                                    J5:19 pm
1333 Race St.
                                                                                           S. RICE  EF
Philadelphia, P.A. 19107
Attorney I.D.: 202768
                                                                                         X^niici^
Tel: 215-703-5400
Fax:215-703-5402                                                Major Non-Jury
Fm@musitief. com


 LOKMAN MOHAMED                                        PHILADELPHIA COUNTY
 1408 Twin Circle Drive                                COURT OF COMMON PLEAS
 South Windsor, CT 05074
                        Plaintiff
                v.

 ESSAME. BABKKIR
 7700 Steadman Street
 Dearborn. MI 48126                                    TERM,
                                                       NO.
            &


 EDIRGAWI TRANSPORT, INC
 4570 Walwit Street
 Dearborn, MI 48126
                        Defendants



                                      NOTICE TO PLEAD


                        NOTICE                                                    AVISO


  You have been sued in court. If you wish to                     "Le hand demandado a usted en la corte.
  defend against the claims set forth in the following          Si   usted   quiere   defenderse     de   estas
  pages, you must take action within twenty (20)                demandas     expuestas    en   las    paginas

  days after this complaint and notice are served, by           siguientes, usted tiene veinte (20) dias de
  entering a written appearance personally or by                plazo al partir de la fecha de la demanda y
  attorney and filing in writing with the court your            la notification. Hace falta asentar una
  defenses or objections to the claims set forth                comparencia escrita o en persona o con un
  against you.                                                  abogado y entregar a la corte en forma
                                                                escrita sus defensas o sus objeciones a las
   You are warned that if you fail to do so the case            demandas en contra de su persona. Sea
  may proceed without you and a judgment may be                 avisado que si usted no se defiende, la
  entered against you by the court without further              corte tomaramedidas y puede continuar la
  notice for any money claimed in the complaint or              demanda en contra suya sin previo aviso 0
  for any other claim or relief requested by the                notification,   Ademas, la corte puede
  plaintiff. You may lose money or property or other            decidir a favor del demandante y requiere
  rights important to you.                                      que usted      eumpla con todas las



                                        EXHIBIT "A"
                                                                                               Case  ID:220101797
                                                                                               Case ID:   2201017
       Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 7 of 26




                                                   provisiones de esta demanda. Usted puede
YOU SHOULD TAKE THIS PAPER TO YOUR                 perder dinero 0 sus propiedades u otros

LAWYER AT ONCE. IF YOU DO NOT HAVE A               derechos importantes para usted.
LAWYER OR CANNOT AFFORD ONE, GO TO
                                                    LLEVE     ESTA     DEMANDA A          UN
OR TELEPHONE THE OFFICE SET FORTH
                                                   ABOGADO INMEDIATAMENTE.      SI
BELOW TO FIND OUT WHERE YOU CAN GET
LEGAL HELP. THIS OFFICE CAN PROVIDE                NO TIENE ABOGADO O SI NO TIENE
YOU WITH INFORMATION ABOUT HIRING A                EL DINERO SUFICIENTE DE PAGAR
LAWYER.                                            TAL SERVICIO, VAYA EN PERSONA 0
                                                   LLAME      POR    TELEFONO         A   LA

         CANNOT AFFORD TO HIRE A                   OFICINA      CUYA     D1RECCION        SE
 IF YOU
LAWYER, THIS OFFICE MAY BE ABLE TO                 ENCUENTRA ESCRITA ABAJO PARA
PROVIDE YOU WITH INFORMATION ABOUT                 AVERIGUAR DONDE SE PUEDE
AGENCIES      THAT       MAY     OFFER     LEGAL   CONSEGUIR ASISTENCIA LEGAL.
SERVICES    TO   ELIGIBLE        PERSONS    AT A
REDUCED FEE OR NO FEE.                             ASOCIACION DE LICENCIADOS DE
                                                   FILADELFIA

PHILADELPHIA BAR ASSOCIATION                       Servicio De Referenda E. Informacion
Lawyer Referral & Information Service              1101 Market Street, 11th Floor
1101 Market Street, 11th Floor                     (215)238-6333 TTY# (215) 451-6197
Philadelphia, PA 19107
(215)238-6333    TTY# (215) 451-6197




                                                                                 Case  ID:220101797
                                                                                 Case ID:   2201017
             Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 8 of 26




THE MUSITIEF FIRM, LLC
By: Feeda R. Musitief, Esquire                               Attorney for Plaintiff
1333 Race St.
Philadelphia, P.A. 19107
Attorney I.D.: 202768
Tel: 215-703-5400
Fax: 215-703-5402
Fm@musitief.com


 LOKMAN MOHAMED                                        PHILADELPHIA COUNTY
 1408 Twin Circle Drive                                COURT OF COMMON PLEAS
 South Windsor, CT 05074
                     Plaintiff
               v.

 ESSAM E. BABKKIR
 7700 Steadman Street
 Dearborn, MI 48126                                    TERM,
                                                       NO.
               &


 EDIRGAWI TRANSPORT, INC
 4570 Waiwit Street
 Dearborn, MI 48126
                            Defendants




                                             COMPLAINT


        Plaintiff, Lokman Mohamed, by and through his attorneys, The Musitief Firm, LLC and


Feeda R. Musitief, Esquire, states that he has causes of action against Defendants, Essam E.


Babkkir, and Edirgawi Transport Inc., in support thereof avers the following:

                                               I. PARTIES


        1.          Plaintiff, Lokman Mohamed, is an adult individual residing at the above stated

 address.


        2.          Defendant, Essam E. Babkkir, is an adult individual residing at the above stated


 address.




                                                                                             Case  ID:220101797
                                                                                             Case ID:   2201017
             Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 9 of 26




        3.      Defendant, Edirgawi Transport Inc., (“hereinafter referred to as “Edirgawi


Transport”), upon information and belief, is a corporation or other business entity existing under


the laws of Michigan which does regular business in Pennsylvania and has offices at the above


stated address.


        4.        At all material times, Defendants, Essam E. Babkkir and Edirgawi Transport, Inc,


were required to adhere to the laws of the Commonwealth including but not limited to the rules


of the road.


        5.        Defendant, Essam E. Babkkir, at all times material was acting within the course


and scope of his employment/agency and on behalf of Defendant, Edirgawi Transport, Inc, and in


the furtherance of Edirgawi Transport’s business


        6.         Defendants are vicariously liable for the negligent acts and/or omissions of their


employees, servants, workmen, and/or agents who at all material times were acting or failing to


act in the course and scope of their employment, authority, and/or agency.


                                   II. CHRONOLOGY OF FACTS


        7.        On or about February 12, 2020, Plaintiff, Lokman Mohamed, was stopped and


fully parked in his Truck on the right shoulder of Westbound on 1-80 in Washington Township.


Jefferson County, Pennsylvania


       8.         Plaintiff was waiting for other Trucks stopped in front of Plaintiff to enter the rest


stop so that he could as well.


       9.         At all material times hereto, several Tractor Trailers/Trucks were parked and/or


stopped in front of Plaintiff on the shoulder and in the designated rest area lane.


       10.        At the aforesaid time and place, Defendant, Essam E. Babkkir, was operating a


tractor-trailer vehicle traveling Westbound on 1-80.




                                                                                                Case  ID:220101797
                                                                                                Case ID:   2201017
           Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 10 of 26




     11.       At all materials times, it was icy and snowy.


     12.      At all material times, Defendant was operating his truck at an excessive rate of speed


under the circumstances.


     13.       At the aforesaid time and place, Defendant, Essam E. Babkkir operated his Truck/


Tractor Trailer at an extremely dangerous rate of speed, and suddenly without warning, lost


control of his truck striking the rear of one vehicle and violently colliding at high speed with


Plaintiffs vehicle.


     14.         Defendant, Essam E. Babkkir, negligently and recklessly operated his vehicle and,


suddenly and without warning, violently collided with Plaintiffs vehicle at an extremely high


rate of speed.


     15.      As a result of this collision, Plaintiffs vehicle suffered disabling damage. A true and


correct photograph of Plaintiff s vehicle as a result of this crash is attached hereto as exhibit “A.”


     16.      Defendant, Essam E. Babkkir’ s vehicle came to a “Jackknife” position after


striking/colliding with Plaintiffs vehicle.


     17.       The collision was caused solely by the negligence, carelessness and recklessness of


Defendant, Essam E. Babkkir.


     18.      As a direct and proximate result of this collision, Plaintiff, Lokman Mohamed,


suffered serious and permanent injuries as more fully stated below.


     19.      Plaintiff is entitled to recover Full Tort Benefits.


                           COUNT I: NEGLIGENCE/RECKLESSNESS
                         LOKMAN MOHAMED v. ESSAM E. BABKKIR


        20.       Plaintiff, Lokman Mohamed, incorporates herein by reference the preceding


paragraphs as if fully set forth at length herein.


        21.       At the time of the collision, Defendant, Essam E. Babkkir, carelessly and




                                                                                              Case  ID:220101797
                                                                                              Case ID:   2201017
         Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 11 of 26




recklessly operated his vehicle, causing his vehicle to collide violently with Plaintiff’s vehicle.


       22.     The collision was caused solely by the negligence, carelessness and recklessness


of Defendant which included but is not limited to the following:


                  a.    Failing to keep a reasonable and proper lookout for other vehicles on the


                        street road or highway, directly in front of Defendant;


                  b.    Operating said motor vehicle at a high, excessive, imprudent and unsafe rate


                        of speed under the circumstances and prevailing conditions in violation of


                        75 Pa. C.S.A. §3361;


                  c.    Failing to have and maintain the said motor vehicle under proper and


                        adequate control under the circumstances so that it could stop without


                        endangering other vehicles on the road in violation of 75 Pa. C.S.A. §3362;


                   d.   Driving in a careless disregard for the safety of others, in violation of 75 Pa.


                        C.S.A. §3714;


                   e.   Operating his vehicle at a high and excessive rate of speed under the


                        circumstances;


                   f.   Failing to have his vehicle under proper and adequate control at all times


                        relevant hereto;


                   g.   Failing to give proper and sufficient warning of the approach of his vehicle;


                   h.   Driving and operating his vehicle in a careless and inattentive manner;


                   i.   Following other drivers too closely;


                   J-    Striking/rear-ending Plaintiff;


                   k.   Failing to pay proper attention to his immediate surroundings;




                                                                                               Case  ID:220101797
                                                                                               Case ID:   2201017
         Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 12 of 26




                   1.   Negligence per se for, inter alia, violating the above enumerated cited and


                        other statutes of the Commonwealth relating to the operation of motor


                        vehicles on the streets and highways; and


                  m.    Failing to exercise due care under the circumstances;


                  n.    Tailgating;


                  o.    Driving at an excessive and dangerous rate of speed;


       23.     As a direct and proximate result of the carelessness, negligence, and recklessness


of Defendant, Essam E. Babkkir, as aforesaid, Plaintiff suffered serious and permanent injuries


which caused a substantial impairment of bodily function. Plaintiffs injuries include without


limitation, injuries to his neck, back, knee, head, muscles, tendons, discs, ligaments, nerves, disc


protrusion at L4-L5 and L5-S1, disc bulge at L2-L3 and L3-L4, lumbar sprain/strain, radiating


pain into his neck, back, legs, posttraumatic headache, sprain of neck, sprain of thoracic and lumbar


region, upper, mid and lower back pain, right shoulder pain, right hand pain, and other ills and


injuries, as well as aggravation of pre-existing conditions, if any, some or all of which injuries may


be permanent; Plaintiff was prevented from attending to his usual duties and activities, has and


continues to suffer pain of mind and body, and, in addition, he has suffered and/or will suffer a


loss of earnings and/or earning capacity and other economic losses including but not limited to


outstanding medical bills and the need to incur costs for future treatment all to his financial


detriment.


               WHEREFORE, Plaintiff, Lokman Mohamed, hereby requests this Honorable


Court to grant judgment in his favor and against Defendant, Essam E. Babkkir in a sum more than


$50,000 plus interest, delay damages, and cost of suit.




                                                                                             Case  ID:220101797
                                                                                             Case ID:   2201017
         Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 13 of 26




         COUNT II: NEGLIGENT/ENTRUSTMENT/RESPONDENT SUPERIOR
                    LOKMAN MOHAMED V. EDIRGAWI TRANSPORT


        24.    Plaintiff repeats and incorporates every allegation contained in the above


paragraphs as if fully stated herein.


        25.    At all material times, Defendant, Essam E. Babkkir, was an employee/agent of


Edirgawi Transport and was operating the tractor-trailer vehicle in the course and scope of his


employment/agency with Defendant, Edirgawi Transport.


        26.    At all material times, Defendant, Edirgawi Transport, owned the tractor-trailer


vehicle which struck Plaintiffs vehicle.


        27.    At all times material hereto, Defendant, Edirgawi Transport, authorized and


permitted Defendant, Essam E. Babkkir, to use its motor vehicle.


        28.    Defendant, Edirgawi Transport, Inc, is vicariously liable for the negligent, careless


and reckless acts of its permissive user and/or employee, agent, and/or contractor, Defendant,


Essam E. Babkkir, who at all material times was acting within the scope of said authority, agency,


and/or employment.


        29.    Defendant, Edirgawi Transport, Inc, knew or should have known that Defendant,


Essam E. Babkkir, was incapable of safely operating a tractor-trailer vehicle.


        30.     While operating Edirgawi Transport’ motor vehicle, Defendant, Essam E. Babkkir,


negligently, carelessly and recklessly struck Plaintiffs vehicle.


        31.     Defendant, Edirgawi Transport, Inc, knew and/or had reason to know that


Defendant, Essam E. Babkkir, would operate the tractor-trailer vehicle in a negligent, careless and


reckless manner causing injury to other people on the road.


        32.     Defendant, Essam E. Babkkir, did in fact operate the tractor-trailer in a careless,


negligent and reckless manner causing injury to Plaintiff.




                                                                                            Case  ID:220101797
                                                                                            Case ID:   2201017
         Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 14 of 26




        33.       Defendant, Edirgawi Transport, Inc, negligently entrusted Defendant, Essam E.


Babkkir, to operate its tractor-trailer vehicle.


        34.      At all material times, Defendant, Edirgawi Transport, Inc, employees’ safety policies


were deficient.


        35. At all material times, the training provided by Edirgawi Transport, Inc, to its


employees/contractors including but not limited to Essam E. Babkkir were severely inadequate


and deficient.


        36.       Defendant, Edirgawi Transport, Inc, is liable for its deficient training and safety


guidelines and/or policies which contributed to the happening of this incident.


        37.       Defendant is further liable for the negligent hiring, training, and supervision of its


employees and/or contractors including Essam E. Babkkir.


        38.       As a direct and proximate result of the carelessness, negligence, and recklessness


of Defendant, Essam E. Babkkir, as aforesaid, Plaintiff suffered serious and permanent injuries


which caused a substantial impairment of bodily function. Plaintiffs injuries include without


limitation, injuries to his neck, back, knee, head, muscles, tendons, discs, ligaments, nerves, disc


protrusion at L4-L5 and L5-S1, , disc bulge at L3-L4 and L4-L5, lumbar sprain/strain, radiating


pains into his neck, back and legs, posttraumatic headache, sprain of neck, sprain of thoracic and


lumbar region, upper, mid and lower back pain, right shoulder pain, right hand pain, and other ills


and injuries, as well as aggravation of pre-existing conditions, if any, some or all of which injuries


may be permanent; Plaintiff was prevented from attending to his usual duties and activities, has


and continues to suffer pain of mind and body, and, in addition, he has suffered and/or will suffer


a loss of earnings and/or earning capacity and other economic losses including but not limited to




                                                                                               Case  ID:220101797
                                                                                               Case ID:   2201017
         Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 15 of 26




outstanding medical bills and the need to incur costs for future treatment all to his financial


detriment.


      WHEREFORE, Plaintiff, Lokman Mohamed, hereby requests this Honorable Court to enter


judgment in his favor and against Defendant, Edirgawi Transport, Inc, in a sum more than


$50,000.00 plus interest, delay damages, and costs of suit.


                              COUNT HI: PUNITIVE DAMAGES
    LOKMAN MOHAMED V. ESSAM E. BABKKIR AND EDIRGAWI TRANSPORT



        39.   Plaintiff herein incorporates by reference tire allegations contained in all prior


Paragraphs as if fully set forth at length herein.


        40.    At the time of the aforementioned crash, Defendant, Essam E. Babkkir, was


operating the tractor-trailer in a complete reckless disregard for the safety of the public including


but not limited to Lokman Mohamed.


        41.    A tractor-trailer is an extremely dangerous vehicle to operate.


       42.    At the time of the collision, Defendant, Essam E. Babkkir, operated the tractor-trailer


at an excessive rate of speed striking Plaintiffs vehicle.


        43.    At the time of the collision, Defendant, Essam E. Babkkir, was operating his vehicle


at an excessive rate of speed well above posted speed limits upon 1-80 needlessly endangering


members of the public including but not limited to Plaintiff, Lokman Mohamed.


       44.     Upon information and belief, in addition to traveling at an excessive rate of speed,


Defendant, Essam E. Babkkir, was operating his vehicle while distracted and/or impaired.


       45.     Defendant, Essam E. Babkkir, knew or recklessly disregarded the propensity for


severe harm resulting to others, including Plaintiff, by operating a tractor-trailer and at an excessive


speed placing members of the public including Plaintiff in serious jeopardy.




                                                                                               Case  ID:220101797
                                                                                               Case ID:   2201017
            Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 16 of 26




       46.         Upon information and belief, Defendants’ tires and brakes were not properly


maintained prior to the time of the collision.


       47.      Upon information and belief, Defendant, Edirgawi Transport, Inc, encourages its


drivers to speed and to work excessive hours without enough rest in violation of Federal and State


regulations.


       48.     At all material times, Defendant, Essam E. Babkkir lost control of his vehicle.


       49.     Defendant, Essam E. Babkkir struck the rear of another vehicle prior to colliding with


Plaintiff’s vehicle.


       50.     Defendant, Essam E. Babkkir’s vehicle came to a “Jackknife” position after colliding


with Plaintiffs vehicle.


       51.     At all material times, Edirgawi Transport, Inc, recklessly or deliberately disregarded


the probability of causing severe harm to members of the public including but not limited to


Plaintiff by failing to properly supervise, train and hire drivers who could safely operate a tractor


trailer on the roadways.


      52.      Defendant, Edirgawi Transport, Inc, is further liable for the negligent and reckless


hiring, training, and supervision of its employees and/or contractors including Defendant, Essam


E. Babkkir.


      53.    Defendants, Edirgawi Transport, Inc, and Essam E. Babkkir’s actions were wanton and


reckless.


     54.     As a direct and proximate result of recklessness of Defendants as aforesaid, Plaintiff


sustained serious and permanent injuries as aforementioned above.


    55.      Punitive Damages are appropriate against Defendants.




                                                                                             Case  ID:220101797
                                                                                             Case ID:   2201017
           Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 17 of 26




          WHEREFORE, Plaintiffs, Loktnan Mohamed, hereby requests this Honorable Court to


enter judgment in his favor and against Defendants, Essam E. Babkkir and Edirgawi Transport,


in a sum more than $50,000 plus interest, delay damages, punitive damages and cost of suit.



                                   COUNT IV: PROPERTY DAMAGES
                              LOKMAN MOHAMED v. ALL DEFENDANTS


          56.        Plaintiff repeats each and every allegation in the previous counts of this Complaint


          as though set forth at length herein.


          57.    As a result of the aforesaid collision and negligence of Defendant, aforesaid


          Plaintiff’s 2012 Freightliner Cascadia 125 received major damage and Plaintiffs have


          incurred vehicle and travel expenses to and from medical providers and suffered other


          pecuniary damages.


          58.    As a direct result of the crash, Plaintiff’s vehicle has suffered a diminution in value.


          59.    Plaintiff was prevented from working and has lost wages.


          60.    Plaintiff is entitled to recover property damages.


                 WHEREFORE, Plaintiff, Lokman Mohamed, hereby requests this Honorable Court


to enter judgment in his favor and against Defendant, Edirgawi Transport, Inc, in a sum more than


$50,000.00 plus interest, delay damages, and costs of suit.




                                                           Respectfully Submitted,
                                                           THE MUSITIEF FIRM?LLC



                                                    By:
                                                           ’eeda R. Musitief, Esquire
Date: •          /                                            Attorney for Plaintiff



                                                                                                 Case  ID:220101797
                                                                                                 Case ID:   2201017
       Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 18 of 26




                                        VERIFICATION




       I, Lokman Mohamed hereby state that I am the Plaintiff in this matter and that the


averments contained in the foregoing pleading/discovery docnment(s) are true and correct to

the best of my knowledge, information and belief, and further that this statement is made


subject to the penalties of 18 Pa. C.S. §4904 relating to unsworn falsification.




                                              Lo'         Shamed




                                                                                     Case  ID:220101797
                                                                                     Case ID:   2201017
Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 19 of 26




                  EXHIBIT “A”




                                                                 Case  ID:220101797
                                                                 Case ID:   2201017
      Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 20 of 26




                                                               >




                       F




                  *1
                  »
                           I » -*X

                           .




                           1
               4 T
                                                 /


                      i.3 “ <               L-
                                                       1
                                                           /




              f                                          2




                                                     \
9 '     K
                                                      \
                                                                       Case DID: 2201017
                                                                                 ono 797
Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 21 of 26




                             1
                         I
                      « *1
                                           1




                             k



                                        £*




                                                                           |

                                                                 Case ID: 220101797
                                                                                797
            Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 22 of 26




Joseph F. Butcher                                             Attorney for Defendants
PA #86464                                                     Essam E. Babkkir and Edirgawi
Zimmer Kunz PLLC                                              Transport, Inc.,
310 Grant Street, Suite 3000
The Grant Building
Pittsburgh PA, 15219
Tel: (412) 434 - 5449
Fax: (412) 281-1765
E-Mail: butcher@zklaw.com

 _____________________________________
 LOKMAN MOHAMED,                                    :   COURT OF COMMON PLEAS
                                                    :   PHILADELPHIA COUNTY
                           Plaintiff,               :
                                                    :   CIVIL ACTION
                      v.                            :
                                                    :   Term
 ESSAM E. BABKKIR and EDIRGAWI                      :   No.
 TRANSPORT, INC.                                    :   Case ID: 220101797
                                                    :
                    Defendants.                     :
 ______________________________________



                                NOTICE OF FILING OF REMOVAL

TO: OFFICE OF JUDICIAL RECORDS, CIVIL/PROTHONOTARY

          PLEASE TAKE NOTICE that Defendants, Essam E. Babkkir and Edirgawi Transport,

Inc., by and through their counsel and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, has removed

this action to the United States District Court for the Eastern District of Pennsylvania, on February

8, 2022. A Notice of Removal was filed with the Clerk of the United States District Court for the

Eastern District of Pennsylvania. Thereafter, the United States District Court, Eastern District of

Pennsylvania assigned it to Docket No. 2:22-cv-00516. In accordance with 28 U.S.C. § 1446(d), no

further proceedings shall be held in the Court of Common Pleas of Philadelphia County,

Pennsylvania unless and until this action is remanded.



                                                EXHIBIT "B"

02248708.DOCX 5915-0006
            Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 23 of 26




                                  Respectfully submitted:

                                  /s/ Joseph F. Butcher
                                  Joseph F. Butcher (PA #86464)
                                  E-Mail: butcher@zklaw.com
                                  Zimmer Kunz PLLC
                                  310 Grant Street, Suite 3000
                                  The Grant Building
                                  Pittsburgh PA, 15219
                                  Tel: (412) 434 - 5449
                                  Fax: (412) 281-1765
                                  Attorney for Defendants Essam E. Babkkir and Edirgawi
                                  Transport, Inc.




02248708.DOCX 5915-0006
            Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 24 of 26




                                 CERTIFICATE OF COMPLIANCE

          I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential information

and documents.


                                                         Submitted by:



                                                         /s/ Joseph F. Butcher
                                                         Joseph F. Butcher, Esquire
                                                         Pa. I.D. #86464




02248708.DOCX 5915-0006
            Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 25 of 26




                               CERTIFICATE OF SERVICE

             This is to certify that a true and correct copy of the within Notice of Filing of
Removal was forwarded to counsel below named by email and U.S. Mail on 9th day of February,
2022:

                                  Feeda R. Musitief, Esquire
                                   The Musitief Firm, LLC
                                        1333 Race St.
                                   Philadelphia, PA 19107
                                      fm@musitief.com




                                    Respectfully submitted:

                                    /s/ Joseph F. Butcher
                                    Joseph F. Butcher (PA #86464)
                                    E-Mail: butcher@zklaw.com
                                    Zimmer Kunz PLLC
                                    310 Grant Street, Suite 3000
                                    The Grant Building
                                    Pittsburgh PA, 15219
                                    Tel: (412) 434 - 5449
                                    Fax: (412) 281-1765
                                    Attorney for Defendants Essam E. Babkkir and Edirgawi
                                    Transport, Inc.




02248708.DOCX 5915-0006
                                                 ______________
                                                                                                                                                                              ________________________________________________________________




                                       Case 2:22-cv-00522-RJC Document 1 Filed 02/09/22 Page 26 of 26
                                                                                              UNITEI) STATES I)ISTRICT COURT
                                                                            FOR TilE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                                           DESiGNATION FORM
                          (1i   /l.’   JLL)’d he ,niincel u,   JIll)   SI’ fl/Il ititiff   f) j,Idj((JfC   ike (ah’gun-v uf the -use for the pupose ofa.v.vignine,it             In it,’ (IJ)Jn-n/ll-inie   eolen,Iur)

                                                                         1408               Twin            Circle             Drive,          South        Windsor,                   CT         05074
Address of Plaintiff:

Address of Defendani:                                                                       4570           Walwit                Street,        Dearborn,                     Ml     48126




Place of Accident, Incident or Transaction:                                      interstate 80, Washington Township, Jefferson County, Pennsylvania


REL.’l ‘FED CASE, IF -tV)’:

Case Number:                                                                                  Judsc:                                                                     Date Terminated:

Civil cases are (teemed elated when Vt’s is answered to any of the tiillowing questions:

       Is th s case ic lirted to property in ci tided in an enil icr numbered suit pending or within one year
       previously terminated action in liii s court?
                                                                                                                                                                               Yes
                                                                                                                                                                                      LI                       No


2.     Does this case involve the sante issue of %iet or grow out of the same transaction as a prior suit                                                                      Yes                             No
       pending or within one year previously terminated action in this court?

3.     Does this ease involve the validit or infringement ofa patent already in suit or any earlier                                                                            Yes                             No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal. or plo se civil rights                                                                       Yes                             No
       case tiled by the same individual?

I ceriilv that, to ny knowledge. the within case                                  D        is /         is not related to any case now pending or within one year previously terminated action in
this coOrt except as noted shove.

1)ATF:        02/08/2022                                                                            i                                                                                             PA 86464
                                                                                                            lit   , 1gev-at   tt” i’m Se l’hii,iii!f                                           lttornu’r 1.1). 5 (i[appIicnlllei



C 1511,: (1,1 ace a x in a ne catt’gurv oiiI)

.1.               icdei’aI Oz,c’s(ioii (axes:                                                                                       B.   Diee,’.sity   .Iurwdictu,n (‘uses:


0       I .  lndenmit Contract, NI anne Contract, and All Other Contracts                                                          Q      I.    Insurance Contract and Other Contracts
        2.   FELA                                                                                                                        2.     Airplane Personal Injury
        3.   Jones Act—Personal Injury                                                                                             Q     .3.    Assault. Defatnation
Q       4.   Antitrust                                                                                                                   4.     Marine Personal Injury
Q
        5.   Patent                                                                                                                      5.     Motor Vehicle Personal Injury
Q       6.   Labor-Management Relations                                                                                            Q
                                                                                                                                         6.     Other Personal Injury fl’Iu’use .swnIv):
        7.   Civil Rights                                                                                                          Q
                                                                                                                                         7.     Products Liability
Q
        8.   1-labeas (‘orpits                                                                                                     Q
                                                                                                                                          8.    Products Liability Asbestos
                                                                                                                                                                          —




        9.   Securities Act(s) Cases                                                                                                      9.    All other l)iversity Cases
R       10. Social Security Review Cases
         II. Allother Federal Question Cases
                                                                                                                                    Q
                                                                                                                                                (i’leu.ee s/)(’iiIu’I

                  (PIeu.ce’ .cpeeifii:                                           —




                                                                                                    ARBITRATION CERTIFICATION
                                                                        (Tue I’ll ccl of this eeriEflcatw,, ix in relnnvr’ the case 1,0,,, cligibilitg                  /01   aihirulwn.)



              —
                                                                                           counsel ofcord           ,,r   pro se pl;nn if. (to hereby ccriitv:


      LI          Pursuant to Local Civil Rule 53.2. § 3(c) (2). that to the best of my knowledge and beliet the damages recoverable in this civil action case
                  exceed the sum of $150,000.00 exclusive of interest and costs:

                  Relief other than monetary damages is sought.



DATIi:                                                                                                                    Sien here itapplicable
                                                                                                            ;liionwr—at—Lnw P.m S PIuiniij/                                                    ,li1,,rncr 1.1.).     (1/ upplasible

NOTI : A iriS I (IC       IIOVO        svil I he a inst by july only it’ there has been ennipl                    511CC   with F. R.C .P .38.

cx    55’) ci 2515,
